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                            U N ITE D STA TES DIST RIC T CO UR T
                            SO UT H ER N D ISTR ICT O F FL O R ID A
            19-14035-CR-ROSENBERG/MAYNARD
                           C ASE N O .
                                        8U.S.C.j1324(a)(1)(A)(v)(l)
                                        18U.S.C.j 1001(a)(2)
                                        18U.S.C.j982(a)(6)
                                        8U.S.C.j1324(b)(1)

  U NITED STA TES O F A M ERICA

                                                                            LH

  TENTLO G IX ,IN C.,                                                Jul 11, 2019
  a Florida corporation,
  G AR Y H EN DR Y ,
  DEN N IS BIR D SA LL,and
  K ENT H UG H ES.

        D efendants.


                                          IN D ICTM EN T

         The G rand Jury chargesthat:

                                  G E NER AL A L LE GA T ION S

        Ata11timesrelevantto thislndictm ent:

                TENTLOGIX,INC.CETENTLOGIXM)wasaFloridacorporationestablishedin
  1996. TEN TLO G IX provided event-related selw ices,including the rentaland installation oftents

  and other temporary structures,forprivate and corporate gatherings tluoughoutthe continental

  United States. TENTLOGIX washeadquartered in FortPierce,Florida,and employedhundreds

  ofworkers,m any ofwhom werem anuallaborers.

         2.     In 2016,TENTLOGIX generated m ore than $21,000,000 in gross receipts and

  $10,000,000 in grossprofitfrom itsbusinessoperations.
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         3.     ln 2017,TENTLOGIX generated m ore than $36,000,000 in gross receipts and

  $14,000,000 in grossprofitfrom itsbusinessoperations.

         4.     GARY HENDRY CSHENDRY'')wasaresidentofM artin County,Florida,and
  thechiefexecutiveofficerandmajorityownerofTENTLOGIX.
         5.     DENNIS BIRDSALL CCBIRDSALL'')wasaresidentofM artinCounty,Florida,
  and the presidentofTEN TLO G IX .

         6.     G M C,a person ktlown to the Grand Jury,w asa residentofM artin County,Florida,

  and supervisoratTEN TLO GIX . GM C supervised the bulk ofTEN TLO G IX 'Sw orkforce.

                KH Services,LLC (ûtKH Services'') was a Florida limited liability company
  established in M arch 2017. KH Serviceswasfonned forthe purpose ofconcealing,harboring,

  and shielding aliens em ployed by TEN TL O G IX from detection by 1aw enforcem ent. KH

  Servicesw asheadquartered in M artin County,Florida.

         8.     KENT HUGHES (6iHUGHES'')wasa residentofM artin County,Florida,and
  the sole m em ber and m anager of KH Services. H U G H ES operated K H Services out of his

  residence in M artin County,Florida.

                    H O M EL AN D SECUR ITY IN V ESTIG ATIO N S A UD IT

                Homeland Security lnvestigations (;$HS1'') is an investigative arm of the
  D epm m entofHom eland Security,w hich isw ithin the executive branch ofthe Governm entofthe

  United States. HSl is responsible for investigating certain im migration crimes,including the

  em ploym entofaliens who are notauthorized to w ork in the United States.

         10.     On April 11,2016, H S1 served TEN TLO G IX w ith a N otice of lnspection.

  N otice oflnspection isthe procedure by w hich H S1 initiates an audit ofa business'em ploym ent

  records.
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         11.    H S1requested TEN TLO G IX to produce Fonn l-9sfora1lofits em ployees. Fonu

  I-9 is used for verifying the identity and em ploym ent authorization of individuals hired for

  em ploym entin the U nited States. A 11U nited States em ployersm ustensure propercom pletion of

  Fonn l-9 foreach individualthey hire forem ploym entin the U nited States.

         12.    On A pril26,2016,TEN TL O G IX provided H SIw ith Fonu I-9s forapproxim ately

  164 em ployeesin response to the N otice ofInspection.

         13.    On July 19,2016,based on areview oftheForm l-9sthatTENTLO GIX provided,

  HSlidentified 96 TENTLO GIX employeeswho appearedto be aliensnotauthorized to work in

  the U nited States. H Sl provided T EN TLO G IX w ith a list of the 96 em ployees,and w arned

  TENTLOGIX itcouldbesubjecttocriminalchargesifitcontinuedtoemploythesealiens.
                                           CO UN T 1
      C onspiracy to C oncealor H arbor A liensfor the Purpose ofC om m ercialAdvantage
                                 (8U.S.C.j 1324(a)(1)(A)(v)(l))
         14.    Paragraphs 1 tluough 13 of this lndictm ent are re-alleged and incorporated by

  reference asthough fully setforth herein.

                From in oraround January 2016,continuing through in oraround M arch 2018,in

  Saint Lucie and M artin Counties, in the Southern D istrict of Florida, and elsew here, the

  defendants,

                                      TEN TLO G IX ,lN C .,
                                       G A R Y H EN DR Y ,
                                   D ENN IS BIRD SALL ,and
                                       K E NT H U G H ES,

  did know ingly and w illfully com bine,conspire,confederate,and agree w ith each other,and w ith

  othersknown and unknow n to the G rand Jury,to com m itan offense againstthe U nited States,that

  is,to conceal,harbor,and shield from detection,and attem ptto conceal,harbor,alzd shield from

  detection,in any place,including any building and any m eansoftransportation,alienswho came

                                                 3
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  to, entered, and rem ained in the United States in violation of law , know ing and in reckless

  disregard ofthe factsuch aliens cam e to,entered,and rem ained in the U nited States in violation

  oflaw ,forthe purpose ofcom m ercialadvantage and private financialgain,in violation ofTitle 8,

  United StatesCode,Sections1324(a)(1)(A)(iii)and 1324(a)(1)(A)(v)(l).
                              PU RPO SE O F TH E C O N SPIR AC Y

         16.    The purpose of the conspiracy w as for TEN TLO GIX ,H EN D RY ,BIRD SA LL,

  H U G H ES,and theirco-conspiratorsto unlaw fully erlrich them selvesby recruiting and em ploying

  a large numberofalienswho werenotauthorized to work in the United States. To furtherthat

  purpose, TEN TLO G IX , H EN D RY , BIR DSA LL, H U G H ES, and their co-conspirators

  concealed,harbored,and shielded the aliens w ho w orked for TEN TL O G IX from detection by

  law enforcem ent.

                       M A NN ER AN D M EA N S O F TH E CO N SPIM CY

         17.    The m anner and m eans by w hich TEN TLO GIX , H EN D RY , B IR D SA LL,

  HUGHES,and their co-conspirators sought to accomplish the purpose and object of the
  conspiracy included,am ong otherthings,the follow ing:

         18.    TENTLO GIX, HENDRY, and BIRDSALL employed aliens to work for

  TEN TLO GIX from January 2016 through M arch 2018. TEN TLO G IX , H EN D RY , and

  BIRDSALL knew orrecklessly disregarded the factthatm any ofthe aliens they em ployed had

  entered and rem ained in the United States unlaw fully, and w ere not authorized to w ork in the

  United States.During thecourseoftheconspiracy,alargeportion ofTENTLOGIX'Sworkforce

  in the SouthenaDistrictofFlorida wascom prised ofaliensw ho w ere notauthozized to w ork in the

  U nited States.




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         19.    ln early 2017, H EN D RY , BIRD SA LL, and H UG H ES devised a schem e to

  tûtransfer''the aliensem ployed by TEN TL O G IX who w ere notauthorized to w ork in the U nited

  Statesto KH Services,w hich wasto be established by H U G H ES,so thatthey no longerappeared

  on TE N TL O G IX 'S payroll. The purpose of the schem e w as to conceal,harbor,and shield the

  aliens w ho worked for TEN TLO G IX from H Sl's audit. H EN D RY agreed to cover al1of the

  costs associated w ith KH Selwices,and agreed to pay H U G H E S a fee for each alien w ho w as

  transferred from TEN TLO G IX 'Spayrollto KH Services'payroll.

         20.    H END R Y and BIR D SA LL m ade GM C aw are of the schem e and directed GM C

  to tellthe aliens employed by TENTLOGIX to obtain new identities,including socialsecurity

  num bers. G M C w as prim arily responsible for recruiting the aliens who w orked for

  TENTLOGIX,mostofwhom were from Guatem ala.

                B IR D SA LL and H EN DR Y directed TEN TL O G IX 'Sattorney to falsely represent

  to HSIthatTENTLO GIX wasin theprocessofterminatingthe96 employeesHS1had identified

  during itsauditasaliensnotauthorized to work in theUnited States.

                ln M ay 20l7, the aliens em ployed by TENTLO GIX were transferred f'
                                                                                   rom

  TENT LO G IX 'Spayrollto K H Services'payrollto conceal,harbor,and shield theirtrue identities

  from H Sl's audit.

                BIR D SA LL provided H U G H E S w ith the hours w orked and hourly rate for each

  alien on abi-weekly basisbased on timesheetshem aintained atTENTLO GIX . HUGHES then

  transmitted this information to Paychex,lnc.(Cçpaychex'),a payrollservicesprovider,so that
  paychecks drawn on KH Services'bank accountatW ellsFargo w ere generated forthe aliensw ho

  w orked forTEN TLO G IX .




                                                 5
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         24.      BIRD SALL directed w iretransfersto be sentfrom TEN TLO G IX 'Sbank account

  atSeacoastBank to K H Services'bank accountatW ells Fargo on a bi-w eekly basis to coverthe

  payrollexpensesforthe aliensw ho worked forTE NTLO G IX butw ere purportedly em ployed by

  K H Services.

         25.      A ûer the paychecks w ere issued, BIR DSA LL obtained the paychecks from

  H U G H E S and distributed them to the aliens atTEN TLO G IX 'S headquarters in FortPierce.

                                          O V ER T A CTS

         26. lnfurtheranceoftheconspiracy andto effecttheobjectsthereof,one ormoreof
  the conspirators com m itted and caused to be com m itted at least one ofthe follow ing overtacts,

  am ong others,in the Southern DistrictofFlorida,and elsewhere;

                  ln early 2017, H E ND R Y , BIRD SAL L, and H U GH ES m et at H EN DR Y 'S

  residence in M artin County and devised a schem e to Cûtransfer'' the aliens em ployed by

  TENTLOGIX to KH Servicesso thatthey no longerappeared on TEN TLO GIX'Spayroll.

                  On M arch 20,2017,H U G H ES form ed K H Servicesforthe purpose ofconcealing,

  harboring,and shieldingthealiensem ployed by TENTLOGIX from HSl'saudit.

         29.      ln April2017,BIRDSALL delivered a $10,000 check to H UGHES issued by

  TEN TLO G IX and m ade outto K H Services.

         30.      On April19,2017,H UGHES opened an accountatW ellsFargo in M artin County,

  Florida,in thenameofKH Servicesand deposited the$10,000 check into thataccount.
                  ln M ay 2017,mostoftheemployeesH S1had identified asaliensnotauthorized to

  work in the United Stateswere transferred from TEN TLO G IX 'Spayrollto KH Services'payroll.

  These aliens continued to work for TENTLOG IX while purportedly being employed by KH

  Services.


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         32.    On M ay 5,2017,TEN TLO G IX ,through its attorney,falsely represented to H SI

  that92 ofthe 96 em ployees identified by H S1during its audithad been term inated.

                Between M ay 2017 and M arch 2018,TENTLO GIX transferred over$3,000,000
  to K H Services in 23 separate w ire transfers for the express purpose of paying the aliens who

  continued to w ork for TENTL O G IX , each w ire transfer constituting a separate overt act.

  BIR D SA LL directed the w ire transfersto be sentfrom T ENTLO G IX 'S bank accountatSeacoast

  Bank to KH Services'bank accountatW ellsFargo on the following datesand in the following

  am ounts:

                       D ate ofW ire Transfer        A m ountofW ire Transfer
                 a.           05/18/17                      $131,521.50
                 b.           05/31/17                      $153,830.55
                 c.           06/15/17                      $154,588.44
                 d.           06/29/17                      $173,662.31
                 e.           07/13/17                      $139,384.51
                 f.           07/27/17                      $119,085.33
                 g.           08/10/17                      $118,174.47
                 h.           08/24/17                      $102,130.13
                 i.           09/07/17                      $127,422.97
                 j.           09/21/17                       $97,379.01
                k.             10/05/17                     $177,094.72
                1.             10/19/17                     $156,831.44
                m.             11/03/17                     $115,944.17
                n.             11/16/17                     $1l6,802.00
                o.             11/30/17                     $122,499.79
                p.             12/14/17                     $118,655.56
                q.             12/28/17                     $134,378.60
                r.             01/11/18                     $118,163.22
                s.             01/30/18                     $112,445.66
                t.             02/08/18                     $107,704.27
                u.             02/22/18                     $151,898.84
                v.             03/15/18                     $121,652.46
                w.             03/22/18                     $162,696.48
         A11 in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(v)(l) and

  l324(a)(1)(B)(i).
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                                               CO UN T 2
                                  False Statem entto a FederalA gency
                                        (18U.S.C.j 1001(a)(2))
         On or aboutM ay 5,2017,in the Southern D istrictof Florida,and elsew here,in a m atter

  withinthejurisdictionoftheDepartmentofHomelandSecurity,anagencyoftheexecutivebranch
  oftheGovernm entofthe United States,thedefendants,

                                        G A R Y H EN DR Y and
                                        D ENN IS BIRD SA LL,

  did knowingly and willfully causea false,fictitious,and fraudulentstatementand representation

  asto a m aterialfactto be m ade,in thatthe defendantscaused theirattorney to representto a Special

  A gent with H om eland Security lnvestigations,w hich is pa14 of the D epartm ent of Hom eland

  Security,thatTENTLO GIX hadterm inated certain em ployeeswho werenotauthorized to work

  in the U nited States,w hen in truth and in fact,and as the defendants then and there w ellltnew ,

  those em ployees were still working for TENTL O G IX ,in violation of Title 18,U nited States

  Code,Sections1001(a)(2)and2.
                                   FO R FEITUR E A LLEG A TIO N S

                The allegations of this lndictment are re-alleged and by this reference fully

  incorporated herein forthe purpose of alleging crim inalforfeiture to the United States ofcertain

  property in w hich one or m ore ofthe defendants,TEN TLO G IX ,H EN D RY ,BIRD SA LL ,and

  H U G H E S have an interest.

                U pon conviction of the offense alleged in Count One of this Indictment,

  TEN TLO G IX , H EN DR Y , BIRD SA LL, and H U G H ES shall forfeit to the U nited States,

  pursuantto Title8,United StatesCode,Section 1324(b),any conveyance,including any vessel,
  vehicle,oraircraft,thathas been or is being used in the com m ission of such violation,the gross

  proceedsofsuch violation,and any property traceableto such conveyanceorproceeds.

                                                   8
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                 Thepropertysubjecttoforfeitureincludes,butisnotlimitedto:
                A moneyjudgmentin the amountof$18,831,876.00,in thatsuch
                sum represents the am ount of gross proceeds the defendants
                received from theoffense alleged in CountOneofthislndictment.

                 Upon conviction of the offense alleged in Count One of this lndictment,

  TEN TLO G IX , H EN DR Y , BIRD SA LL , and H U G H ES shall forfeit to the United States,

  pursuantto Title 18,United StatesCode,Section 982(a)(6)(A),any conveyance,including any
  vessel,vehicle,oraircraftused in the com m ission ofthe offense;any property realorpersonalthat

  constitutes,orisderived from oristraceable to the proceedsobtained directly orindirectly from

  the com m ission of the offense; or any propel'
                                                ty real or personalthat is used to facilitate,or is

  intended to be used to facilitate,the com m ission ofthe offense.

         4.     lf any of the property described above,as a result of any act or om ission of the

  defendants:

                 (1)     cannotbelocatedupontheexerciseofduediligence;
                         has been transferred orsold to,ordeposited w ith a third party;

                         hasbeenplacedbeyondthejurisdictionofthecourt;
                         has been substantially dim inished in value;or

                 (5)    hasbeen commingledwithotherpropertywhichcalmotbesubdivided
                        withoutdifficulty,




                                                   9
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  the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

  States Code, Section 853(p ).



                                                        A TRUE BILL




  AR~!aJ:Jrr~
                                                        FOREPERSON



  UNITED STATES ATTORNEY



  MICHAEL D. PORTER
  ASSISTANT UNITED STATES ATTORNEY




                                                   10
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                                           UNITED STATES DISTRICT CO URT
                                          SOUTHERN DISTRICT OF FLO RIDA

UNITED STATES OF AM ERICA                               CASE NO.                     -




                                                        C ERTIFICATE O F TRIAL ATTOR NEY.
TENTLOGIX,INC.,ET AL.,
                                                        Superseding Caselnform ation:
                             Defendant.    /
CourtDivijiop:(selectOne)                               New defendantlsl            Yes       No
       M lam l             Key W est                    Num berofnew defendants
       FTL                 W PB    z FTP                Totalnumberofcounts

                 lhave carefully considered the allegationsofthe indictment,the numberofdefendants,the numberof
                 probable witnessesandthelegalcom plexitiesofthelndictment/lnform ation attachedhereto.
       2.        lam aware thatthe information supplied on this statement willbe relied upon by the Judges ofthis
                 Courtin setting theircalendarsand scheduling criminaltrials underthe mandate ofthe Speedy Trial
                 Act,Title28 U.S.C.Section 3161.
                 lnterpreter:      (YesorNo)       No
                 Listlanguageand/ordialect
       4.        Thiscasewilltake 5 daysforthepartiesto try.
                 Please check appropriatecategory and type ofoffenselistedbelow :

                 (Checkonlyone)
       l         0 to 5 days                   V               Petty
       11        6 to 10 days                                  M inor
       IIl       11to 20 days                                  M isdem .
       IV        21to 60 days                                  Felony               ?'
       V         61daysand over
       6.        HasthiscasepreviouslybeentiledinthisDistrictCourt?           (YesorNo)       No
         Ifyes:Judge                                    CaseNo.
         (Attachcopyofdispositiveorder)                                N
         Hasacomplaintbeenfiledinthismatter?            (YesorNo)       o
         lfyes:M agistrateCaseNo.
         Related m iscellaneousnumbers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof
         Rule20 from theDistrictof
         lsthisapotentialdeathpenaltycase?(YesorNo)               No
                  Doesthiscaseoriginatefrom a matterpending in theCentralRegion ofthe U.S.Attorney'sOftice
                  priortoAugust9,2013(Mag.JudgeAlicia0.Valle)?                 Yes            No /
        8.        Doesthiscaseoriginatefrom a matterpending in theNorthern Region U.S.Attorney'sOffice
                  priortoAugust8,2014(Mag.JudgeShaniekMaynard)?                Yes            No z

                                                                       W                  '
                                                                M ichaelD.Porter
                                                                A SSISTANT UNITED STATES ATTORNEY
                                                                BarNumber:0031149
                                                                                                     REV 8/13/2018
 *penalty Sheetts)attached
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                             UNITED STA TES DISTRICT CO URT
                             SOU TH ERN DISTRICT OF FLO RIDA

                               Case N o.


    UNITED STA TES O F AM ERICA



    TEN TLO G IX ,IN C.,ET A L.,

                    D efendant.             /


                                   CR IM IN AL CO VER SH EET

       D id this m atter originate from a m atterpending in the CentralRegion ofthe U nited States
       Attorney'sOfficepriortoAugust9,2013(Mag.JudgeAliciaValle)?                      Yes V No
       D id this m atter originate from a m atterpending in the N orthern Region ofthe United States
       Attorney'sOfficepriortoAugust8,2014(Mag.JudgeShaniekMaynard)?                   Yes / No


                                                Respectfully subm itted,

                                                A RIAN A FAJARDO ORSHAN
                                                UN ITED STA TES ATTORN EY



                                                M ICHA EL PORTER
                                                A SSISTAN T UN ITED STATES A TTO RN EY
                                                Florida BarN o. 0031149
                                                l01 South U.S.Highway l,Suite 3100
                                                Fo14 Pierce,Florida 34950
                                                Tel:       772-466-0899
                                                Fax:       772-466-1020
                                                Email: michael.porterz@usdoj.gov
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                             UN ITED STA TES D ISTR IC T CO UR T
                             SO U TH ERN D ISTRIC T O F FLO R ID A

                                         PEN A LTY SH EE T

                         CA SE N O .

    Defendant'sN am e: GA RY H EN DR Y

     CO U N T         V IO LA TIO N                 U .S.C O DE         M AX .PE NA LTY
 1              ConspiracytoHarbor           8U.S.C.j                Upto 10years;
                AliensforthePuposeof         1324(a)(1)(A)(v)(1)     Thegreatestof$250,000
                Com m ercialA dvantage                               ortw ice the lossortwice
                                                                     the gain caused by the
                                                                     offense;
                                                                     SR :up to 3 years;
                                                                     $100 SpecialAssessment
2               FalseStatementtoaFederal 18U.S.C.j 1001(a)(2)        Upto5years;
                Agency                                               Thegreatestof$250,000
                                                                     ortw ice the lossortw ice
                                                                     the gain caused by the
                                                                     offense;
                                                                     SR :up to 3 years;
                                                                     $100 SpecialAssessment
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                             UN IT ED STA TES D ISTRIC T C O U RT
                             SO UTH ERN D ISTR ICT O F FL O R ID A

                                         PEN AL TY SH EE T

                         CA SE NO .

  D efendant's N am e: DEN N IS BIR D SA LL

     C O UN T         V IO LA TIO N                 U .S.CO D E         M A X .PENA LTY
 1              Conspiracyto Harbor          8U.S.C.j                Upto 10years;
                AliensforthePurposeof        1324(a)(1)(A)(v)(I)     Thegreatestof$250,000
                Com m ercialA dvantage                               ortw ice the lossortwice
                                                                     the gain caused by the
                                                                     offense;
                                                                     SR:up to 3 years;
                                                                     $100 SpecialAssessment
 2              FalseStatementtoaFederal 18U.S.C.j1001(a)(2)         Upto 5years;
                Agency                                               The greatestof$250,000
                                                                     ortw ice the loss ortwice
                                                                     the gain caused by the
                                                                     offense;
                                                                     SR :up to 3 years;
                                                                     $100 SpecialAssessm ent
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                          UN ITED STA TES D ISTRIC T C O U RT
                          SO UTH ERN D ISTR ICT O F FL O R ID A

                                      PEN AL TY SH EE T

                    CA SE N O .

  Defendant'sNam e: KENT H UGH ES

  C O UN T         V IO LA TIO N                 U .S.CO D E         M A X .PEN ALTY
 1           ConspiracytoHarbor           8U.S.C.j                Upto 10years;
             AliensforthePurposeof        1324(a)(1)(A)(v)(1)     Thegreatestof$250,000
             Com m ercialA dvantage                               ortw icethe lossortwice
                                                                  thegain caused by the
                                                                  offense;
                                                                  SR :up to 3 years;
                                                                  $100 SpecialAssessm ent
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                           UN ITED STA TES D ISTRIC T C O UR T
                           SO UTH ERN D ISTR ICT O F FL O R IDA
                                     PEN ALTY SH EET

                      C A SE N O .

  D efendant'sN am e: TENT LO G IX ,IN C .

    CO UN T         V IO LA TIO N               U .S.CO D E          M A X . PENA LTY
1             ConspiracytoHarbor         8U.S.C.j                 Thegreatestof$500,000
              AliensforthePurposeof      1324(a)(1)(A)(v)(l)      ortwicethelossortwice
              Comm ercialAdvantage                                thegain caused by the
                                                                  offense;
                                                                  $400 SpecialAssessm ent
